Case 3:98-cr-30044-I\/|AP Document 284 Filed 04/20/00 Page 1 of 4
DUPLnnmm

F!
tJNITEn sTATEs nIeTnIoT ooue'l' IN CI_E;;»H£F§QF_
nIsTnICT oF MAssAoHUsETTs '“

,Z_ .H~\-

luna ma 29 ,;, 3: 3b

U&Empmw-l
l|-\‘\ .,_ l_"_l ; "___ _\ in "'|| j m
CRIMINAL No. es-ann§'lf-iimp = ,~1,@:.3;§:~“

UNITED ETATES OF AMERICA

 

V.
KRISTEN GILBERT,

Defendant.

GOVERNMENT'S MGTION FGR A FINAL ORDER TO ISSUE
REGARDING THE COURT’S ALLOWANCE OF DEFENDANT’S
MOTION IN`LIMTNE TO EXCLUDE THE
TESTIMONY OF DR. STEPI-IEN l.'}EHLB»!‘lLC.I-IIr
ORif IN THE ALTERNATIVE
GOVERNMENT'S MOTION FGR THE COURT_TO EXTEND
THE APPEAL PERIOD
.The United States of Amerioa, by Donald K. Stern, United
States Attorney for the Distriot of Massaohnsetts, WillianLM. Woloh
ll, and Ariane D. Vnono, hesistant `United States Attorneye,
respectfully request that this Conrt issue a final order with
respect to the Conrt’s allowance of Gilhert’s motion in limine to
exclude the testimony of Dr. Stephen Gehlhaoh. In the alternative,
the government requests that the Conrt extend the time to file a
notice of appeal until April ZB, 2000. In support of its motion
the government states as follows:

l. On January 5, 2000, Gilhert filed a motion in limine to
exclude the testimony of the qovornment’s epidemiologist, Dr.

Stephen Gelbaoh. The government’s response in opposition to the

motion was submitted two weeks later, on Jannary 19, 2000.

2. A hearing on the motion was held on March B, 2000. At

 

Case 3:98-cr-30044-I\/|AP Document 284 Filed 04/20/00 Page 2 of 4

the conclusion of the hearing, the Court issued an oral ruling
allowing Gilbert’s motion. The ruling was then entered into the

docket the same day.

3. Although the Court issued a ruling, the government was
under the impression that the Court intended -~ or perhaps still
intends ~- to issue a subsequent, final order. At the close of the

hearing, the Court stated:
l think l’ve summarized my reasons as best l can.

There is some possibility that I'll put something in

writing on this. I'm not sure whether l will really need

to or not. l think I'll just review the transcript of

the remarks that I've made.

The transcript became available on or about March 20, 2000.

4. Pursuant to FRAP 4(b} and 10 U.S.C. §3731, the government
has 30 days from the date an order is docketed to file a notice of
appeal. FRCP 4(b)(4) allows a court to extend the time to file a
notice of appeal for a period not to exceed 30 days upon a finding
of excusable neglect or good cause.

5. The government has not yet decided whether it should
appeal the Court's order, but wishes to preserve its ability to do
so that it may give the matter meaningful consideration.

0. Here, if the Court's March B, 2000 order turns out to
have been its final order, the time within which the government had

to file a notice of appeal expired on Friday, March 6, 2000. Given

the Court’s comments at the close of the March 0, 2000 hearing, and

the fact that the transcript was not available until recently

 

Case 3:98-cr-30044-I\/|AP Document 284 Filed O4/20/OO Page 3 of 4

(i.e., so that the Court could not have reviewed it earlier, and so
the government could not have expected such a.review to have taken
place), the government believes that if the Court does not intend
to issue a final order, or enter its March 0, 2000 order on the
docket now as its final order, it should issue an order pursuant to
FRAP 4(b)(4} extending the time within which'the government may
file its notice of appeal to April 20, 2000. The facts establish
either excusable neglect or good cause.

For these reasons, the government respectfully requests that
the Court issue a final order on the defendant’s motion in limine,
or enter its March 0 order on the docket now as its final order or,
in the alternative, find that the facts establish excusable neglect
or good cause and extend the time within which the government may
file its notice of appeal to April 20, 2000.

Respectfully submitted,

DONALD K. S'I`ERN
United States Attorney

Ey: dquasa 53-\/;%-~4
Ariane D. Vuono
Assistant U.S. Attorney

William M. Welch II
Assistant U.S. Attorney

Dated: npril 20, 2000

 

 

Case 3:98-cr-30044-I\/|AP Document 284 Filed O4/20/OO Page 4 of 4

CERTI F"l`.CATE OF SERVICE

l, Ariane 0. Vuono, Assistant U.S. Attorney, do hereby certify
that l have caused a copy of this motion to be served on Harry L.
Miles, Esg., 77 Pleasant Street, Northampton, MA 01060 and David P.
Hoose, Esg., 1145 Main Street, Springfield, MA_01103 by first-class

mail on April 20, 2000.

goals o diva _
Ariane D. Vuono
Assistant U.B. Attorney

 

